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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                            CRIMINAL MINUTES - GENERAL



 Case No.          LA CR20-00603 JAK                                                      Date    July 15, 2021


 Present: The Honorable        JOHN A KRONSTADT, U.S. DISTRICT JUDGE
 Interpreter       N/A
          T. Jackson (video)                  Lisa Gonzalez (video)                       Benjamin Weir (video)
                Deputy Clerk              Court Reporter/Recorder, Tape                   Assistant U.S. Attorney


                U.S.A. v. Defendant(s):        Present Cust. Bond         Attorneys for Defendants:     Present App. Ret.

                                                                      Randolph Melendez, Ret.
Jeanette Bernardette Paredez (video)             /            /       (video)                                /               /



 Proceedings:            SENTENCING

Upon agreement of Defendant and counsel, the hearing is held by videoconference. Defendant, counsel, the
Court, and court staff all appear in that manner. Recording or re-broadcasting of the proceedings is strictly
prohibited.

The sentencing hearing is held. For the terms and conditions of the sentencing, refer to Judgment and
Probation/Commitment Order.

IT IS SO ORDERED.




                                                                                                         :        25
                                                               Initials of Deputy Clerk                TJ
cc: BOP; USPO




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